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EXHIBIT A

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CHAPTER 5 — ADULT CUSTODY AND SECURITY
OPERATIONS
ARTICLE 1 — PEACE OFFICER AUTHORITY
Revised February 29, 2009
§1010.1 Policy

It is the policy of the California Department of Corrections and

Rehabilitation (CDCR) to ensure that CDCR peace officer authority
comports with applicable State statutes, regulation and mutual aid
agreements.

§1010.2 Purpose

The purpose of this Article is to clarify CDCR peace officer authority
as it relates to inmates, parolees, and California law enforcement
requests for assistance.

51010.3 Peace Officer Authority

CDCR peace officer authority is outlined in Penal Code (PC) Sections
830.2(d)(1) & (2) and PC 830.5. While normal CDCR peace officer
authority applies generally to custody of inmates either inside or

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§1010.7 Revisions

The Assistant Secretary, Office of Correctional Safety, shall ensure that the
content of this Article is current and accurate.

51010.8 References
~ PC §§ 830.1, 830.2(d)(1) & (2).
GC §§ 8597, 8598, & 8617.
ARTICLE 2 - USE OF FORCE
Effective August 20, 2010
51020.1 Policy

It is the policy of the California Department of Corrections and Rehabilitation’s .

(CDCR), Division of Adult Institutions (DAI), to accomplish custodial and
correctional functions with minimal reliance on the use of force. Employees may
use reasonable force as required in the performance of their duties, but shall not
use unnecessary or excessive force. Staff may, at any point, determine the
situation can be resolved without the use of force and terminate the use of force
process.

This policy, in conjunction with related procedures and training, defines staff

outside of a CDCR facility (eg. escape pursuit . and
transportation/hospital custody, etc.) and parolees, appropriately trained
and equipped CDCR peace officers can be authorized to act outside of
normal duties during emergency and non-emergency situations as
specified by law.

A CDCR peace officer has authority that extends to any place in the
State while engaged in the performance of the duties of his/her
respective employment and for the purposes of carrying out the primary
function of his/her employment or as required under Sections 8597,
8598, and 8617 of the Government Code (GC).

51010.4 Emergency Assistance

When a government agency (city, county, state, federal) makes an
emergency mutual aid request that meets the criteria contained in the
State Mutual Aid Plan or the. Law Enforcement Mutual Aid Plan,

~ response protocol provided in these plans shall be followed.

GC Section 8597 authorizes that when the appropriate state official
proclaims a state of emergency or when a state of war emergency
exists, PC Section 830.5 CDCR peace officers have full powers and
authority as outlined in PC Section 830.1. Criteria for activation of
these plans include, but are not limited to, disasters which may result
from flood, fire, earthquake, war, sabotage, or riots.

GC Section 8598 authorizes that when a local emergency exists, PC
Section 830.5 peace officers have full powers and authority as outlined
in PC Section 830.1.

When acting as peace officers under PC Section 830.1, CDCR peace
officers are authorized to exercise any powers which are appropriate or
which may be directed by their superior officers.

§1010.5 Non-Emergency Assistance (General Law
Enforcement Assistance)

GC Section 8617 provides that the CDCR may exercise non-emergency
mutual aid powers in accordance with the Master Mutual Aid
Agreement and local ordinances, resolutions, agreements, or plans.

51010.6 Provision of Assistance in Emergency and Non-
Emergency Situations .

CDCR hiring authorities (eg. Wardens, Regional Parole
Administrators) are authorized to provide CDCR peace officer
assistance to law enforcement agencies in emergency and non-
emergency situations as consistent with the authority discussed herein.
Hiring authorities will notify their supervisors of provision of
assistance (e.g. Wardens will notify their Associate Directors).
Specially trained and equipped peace officers include, but are not
limited to, Crisis Response Team members and Emergency Operations
Unit personnel conducting tactical and negotiation operations, and
Investigative Services Unit members conducting investigative
operations, and should be deployed as appropriate for the particular
circumstances.

When CDCR peace officers are assigned to provide emergency or non-
emergency law enforcement assistance, these tasks become the primary
function of their employment for the duration of the assignment.
Unless other agreements have been made, all costs associated with this
assistance are the responsibility of the CDCR.

training are used to assist in applying and interpreting policy. : Oho
This policy will assist staff in identifying when and how much force is appropriate
under different circumstances, ensure that supervision, monitoring, and evaluation
of the use of force is consistent with procedures and training, and ensure the
investigation of possible unnecessary or excessive use of force. Staff found
culpable of violations of the Use of Force Policy will be subject to disciplinary
(preventive, corrective, or adverse action) procedures.

51020.2 Purpose

The purpose of this Article is to outline DAI’s procedures pertaining to the use of
force, as set forth in CCR 3268. .

51020.3 Responsibility

It is the responsibility of all employees to understand and comply with the Use of
Force policy, related procedures, ongoing training, and applicable law. —

It is the responsibility of each Institution Head:

e To ensure that all employees receive appropriate training’ antiually ‘and
understand the Use of Force policy and procedures, including’ Both ‘the
application of force and subsequent reporting and * documentation
requirements, coat

° To record and track all training and discipline related to the use of force.
51020.4 Definitions
The following shall define language usage in this Article:

Reasonable Force '
Reasonable force is the force that an objective, trained, and competent correctional
employee faced with similar facts and circumstances, would consider necessary.
and reasonable to subdue an attacker, overcome resistance, effect custody or, r.gain
compliance with a lawful order.

Unnecessary Force .
Unnecessary force is the use of force when none is required or appropriate :

Excessive Fo ree

Excessive force is ‘the use of more force than is objectively reasonable to
accomplish a lawful purpose. .

Immediate Use of Force

Immediate use of force is the force used to respond without delay to inmate
behavior that constitutes an imminent threat to institution/facility security ‘or the
safety of persons. Employees may use immediate force ‘without prior
authorization from a higher official.
Controlled Use of Force

A controlled use of force is the force used in an institution/facility setting, When an
inmate’s presence or conduct poses a threat to safety or security and the inmate i§
located in an aréa that can be controlled or isolated. These situations do not
normally involve the immediate threat to loss of life or immediate threat to
institution security. All controlled use of force situations require the authorization
and the presence of a First or Second Level Manager, or Administrative Officer of
the Day (AOD) during non-business hours. Staff shall make every effort to’
identify disabilities and note any accommodations that may need to be considered.

Non-conventional Force : Tash

Non-conventional Force is force that utilizes techniques or instruments that are not
specifically authorized in policy, procedures, or training. Depending on the

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responsibilities~and-limitations~ concerning—the-use—of—force:—-Procedures~and-——-_-_-_—
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circumstances, non-conventional force can be necessary and
- reasonable; it can also be unnecessary or excessive.

Non-deadly Force
Non-deadly force is any use of force that is not likely to result in death. *
Deadly Force

Deadly force is any use of force that is likely to result in death. Any
discharge of a firearm is deadly force.

Great Bodily Injury (GBI)

Great bodily injury is any bodily injury that creates a substantial risk of
death.
Serious Bodily Injury

Serious bodily injury means a serious impairment of physical

condition, including, but not limited to the following:
° Loss of consciousness;

e Concussion;

° Bone fracture;

° Protracted loss or impairment of function of any bodily member
or organ;

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Holding Cells

All holding cells shall be located within buildings. A holding cell shall not be
used as a means of punishment. If clothing is taken from an inmate when he/she i8
placed in a holding cell, alternate clothing shall immediately be provided.

51020.5 Use of Force Options

Use of Force options do not have to be utilized in any particular sequence, but’. ;
should be the force option staff reasonably believes is sufficient. Verbal ~
persuasion or orders should be issued prior to resorting to force and are required to, ~
be provided before controlled force is used. The unresisted searching or escorting
of an inmate/parolee and the unresisted application of authorized restraint‘,

equipment is not a use of force. Use of force options include but are not limited
to:

« Chemical agents

. Hand-held batons

e Physical strength and holds. A choke hold or any other physica! restraint

which prevents the person from swallowing or breathing shall not be used
unless the use of deadly force would be authorized.

* _ Less-lethal weapons: A less lethal weapon is any weapon that is not likely to” |”

cause death. A 37mm or 40mm launcher and any other weapon used to fire

oe wound requiring-extensive-suturing;-or
e —_ Serious disfigurement. ,
Response Supervisor
The Response Supervisor is the first line supervisor responsible for the
area where an incident occurs.
Incident Commander
The Incident Commander is the second line supervisor responsible for
the area where an incident occurs or an allegation of excessive or
unnecessary force is received.
First Level Manager
A First Level Manager is a Facility Captain/Correctional Captain, or
the AOD.
Second Level Manager
A Second Level Manager is an Associate Warden.
Institution Head
The Institution Head is a Warden or designee.
Institutional Executive Review Committee ERC)
The IERC is a committee of institution staff chaired by the respective
Institution Head tasked with reviewing all uses of force and every
allegation of excessive or unnecessary force.
Department Executive Review Committee (DERC)
The DERC is a committee of staff selected by, and including, the
Associate Director who oversees the respective Mission-based group.
The DERC has oversight responsibility and final review authority over
the IERC. The DERC shall review every use of deadly force and every
serious injury, great bodily injury or death that could have been caused
by a staff use of force. The DERC shall also review those incidents
referred to the DERC by the IERC Chairperson or otherwise requested
by the DERC.
Deadly Force Investigation Teams (DFIT)
DFIT conducts criminal and administrative investigations into every
use of deadly force and every death or great bodily injury that could
have been caused by a staff use of force. Based on certain local
Memoranda of Understanding, criminal investigations may instead be
conducted by an outside police department or sheriff's office, DFIT
need not investigate the discharge of deadly force inside an
- institution/facility if a member of an Investigative Services Unit, or an
uninvolved supervisor, confirms that the discharge of deadly force was
a warning shot and that no injuries were caused by the shot.
Deadly Force Review Board (DFRB)
The DFRB conducts a full and complete review of all incidents
involving a use of deadly force (except waming shots) and every death
or great bodily injury that could have been caused by a staff use of
force, regardless of whether the incident occurs in an institutional or
community setting.
Joint Use Committee (JUC)
The JUC is a committee of field staff from the DAI tasked with
reviewing and evaluating recommended revisions to the Division’s Use
of Force Policy and Procedures.

less-lethal | projectiles is a less lethal weapon.

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. Lethal weapons: A firearm is a lethal weapon because it is used to fire lethal
projectiles, A lethal weapon is any weapon that is likely to result in death. ©
51020.6 Use of Restraints .
Revised May 3, 2012
The unresisted application of authorized restraint equipment is not a use of ford .
When mechanical restraint is required, handcuffs, alone or attached to a waist

chain, will be the means of restraint normally used. However, additional.::. -

mechanical restraints, including leg irons, additional chains, straight jackets,

leather cuffs, or other specialized restraint equipment may be used when. the
circumstances indicate the need for the level of control that such devices will
provide. Restrained inmates shall never be left unsupervised in an unsecured area...

Use of mechanical restraints on persons confirmed, or suspected by health care
staff to be pregnant shall be subject to the following requirements found: in
California Code of Regulations (CCR) Title 15 section 3268.2 (d) and (e):

. No leg restraints or waist chains shall be applied.
. If handcuffs are applied, the person’s arms shall be brought to the front of
her body for application.

Mechanical restraints shall not be placed on an inmate during labor, including
during transport to a hospital, during delivery, and while in recovery after giving
birth, unless circumstances exist that require the immediate application of
mechanical restraints to avoid the imminent threat of death, escape, or great bodily
injury. In this-case, mechanical restraints may be used only for the period during
which such threat exists. :
The following state-issued restraints and equipment are authorized for use at the
discretion of on-duty staff: .
. Handcuffs

. Waist Chain

. Leg Irons

. Escort Chains

. Padlocks
. Security Chain /
. Spit Hood :

. Martin Chain
The following restraints may be used as specified below:

. Safety Triangle: This device is a handcuff retention device, used to prevent
inmates from pulling restraint equipment into their cell and may be used at’
the discretion of on duty staff. The safety triangle may remain attached to the
handcuffs if the inmate is being relocated in the housing unit or if attaching
and detaching the safety triangle to and from the handcuffs presents a safety
concern. (Such as an irate inmate who has threatened violence or an inmate
upon whom force has just been used.) The safety triangle is not intended to
control the inmate outside of the cell, nor is it intended to pull an inmate to
the cell front in order to remove the handcuffs. The officer controlling the
safety triangle must be vigilant and efforts should be directed to prevent the

inmate from pulling his hands inside the cell while the door is being closed. +

Prior to using a safety triangle on an inmate confirmed, or suspected .by
health care staff to be pregnant, a physician must be consulted and any
potential risks fully discussed. The final decision to place the device on the
inmate will rest with the Warden or Chief Deputy Warden (CDW) and the

reviewing physician, The consultation and its outcome must be documented

for inclusion in the inmate’s health care record and central file.

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+ Leather Restraints: Leather restraints are used for four/five point
restraint in a Correctional Treatment Center, Outpatient Housing
Unit, General Acute Care Hospital, or community hospital when
authorized by a physician or psychiatrist. Use of restraint
equipment at the direction of medical staff shall be fully
documented in the institution Health Care Services record of the
restrained inmate.

. Soft Restraints: Soft restraints consist of towel or sheets used to
temporarily secure an inmate’s ankles and/or arms together. After
the application of soft restraints, mechanical restraints are
removed and staff are to exit the cell before the inmate has time to
release himself from the soft restraints. Soft restraints are used on
inmates who try to resist entering their cell and were developed in
an effort to avoid using physical force on inmates. ‘The Incident
Supervisor may authorize the use of soft restraints. If force is
used, it must be appropriately documented. Soft restraints shall
not be used on inmates confirmed, or suspected by health care
staff to be pregnant. ,

. Hand Isolation Devices (HID): These devices (e.g., hand mittens,
etc) are used as an additional measure to restrict an inmate’s
ability to use his/her hands. HIDs may only be purchased from an

writing, by the Warden or CDW. Inmates in HIDs must have
constant and direct visual supervision at all times. In instances
where HIDs are used for Contraband Surveillance Watch (CSW),
staff must maintain a log (CDCR Form 114A) which reflects
usage times and correlating actions (e.g., 1200 hrs - One HID was
removed so the inmate could eat lunch). Prior to placing a HID on
an inmate confirmed, or suspected by health care staff to be
pregnant, a physician must be consulted and any potential risks
fully discussed. The final decision to place the device on the
inmate will rest with the Warden or CDW and the reviewing
physician. The consultation and its outcome must be documented
for inclusion in the inmate’s health care record and central file.
Equipment Hygiene - HIDs must be cleaned and sanitized on an
ongoing basis (e.g. if soiled after a bowel movement, after
termination of the CSW, etc.).
Mechanical restraint equipment shall not be used in any manner
described ‘in CCR; Title 15, Section 3268.2(c), Use of Restraints. The
use of restraint equipment not identified in this section must be
preapproved at the level of Associate Director or higher. As part of the
mechanical restraint maintenance process, restraints should be routinely
cleaned: and sanitized to adhere to an acceptable equipment hygiene
standard.

51020.7 Deadly Force

The CDCR recognizes the sanctity of human life. Therefore, deadly
force will only be used when it is reasonably necessary to:

e Defend the employee or other persons from an immediate threat —

of death or great bodily injury.
e Prevent an escape from custody.

e¢ Stop acts such as riots or arson that constitute an immediate
jeopardy to institutional security and, because of their magnitude,
are likely to result in-escapes, great bodily injury, or the death of
other persons.

e Additionally, CDCR operates facilities that maintain livestock or
are situated in remote areas. CDCR recognizes: the need to
dispose of seriously injured or dangerous animals when no other
disposition is practical.

e A firearm shall not be discharged if there is a reason to believe
that persons other than the intended target will be injured.

51020.7.1 Warning Shots

A warning shot discharged from a lethal weapon is deadly force.

Firearms may be discharged as a warning only in the safe area of an

institutional/facility setting, and only when the use of deadly force is

warranted.

§1020.8 Non-deadly Force

Non-deadly force will only be used when reasonably necessary to:

e — Subdue an attacker.

e Overcome resistance.

e Effect custody. or to

e = Gain compliance with a lawful order.

* §1020.9 Medical Evaluation

When force is used, a medical evaluation shall be provided as soon as practical.

51020.10 Application of Force

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Employees may use force in circumstances that require immediate action, or in
circumstances that require a controlled use of force. Any application of force,
whether immediate or controlled, must be reasonable and in accord with the
applicable standards for deadly or non-deadly force.

51020.11 Immediate Use of Force in Cells :

When immediate force is necessary for inmates confined in their cells, Oleoresin
Capsicum (OC) i is the preferred option for carrying out the immediate use of force.
A verbal warning shall be given before force is used unless the circumstances
require immediate force that precludes a verbal warning. betes
51020.11.1 In-Cell Assaults

Unit staff discovering an in-cell assault shall sound an alarm and order’ ‘the inmates
to stop fighting. If the inmates continue to fight or one inmate continues to assault
the other, staff are authorized to use chemical agents to stop the incident:

The cell door should not be opened until sufficient staff is present to evaluate the
situation. At least two officers shall be present, prior to the door being opened.

The on-scene staff may use their discretion to order the opening of the cell without

approved-vendor-and- used-at-an-institution-when -authorized,-in——---— - both-inmates restrained -in-handcuffs...This-discretion-would_apply-in _the.event.of..

incapacitating injuries, illness, or overriding security concerns.

Should the use of chemical agents fail to stop the incident, the supervisor ‘shall
order the assembly of a controlled use of force team and immediate physical force
may be used to extract the inmates from the cell. While the team is being formed,
at least one staff member shall remain at the cell to continue observation of the
incident for documentation purposes. oo :

§1020.11.2 Food Ports

If during routine duties, correctional officers encounter an inmate who refs to
allow staff to close and lock the food port:

The officer shall verbally order the inmate to relinquish control of the food port
and allow staff to secure it. The officer shall issue a warning that chemical agents
‘will be used if he/she does not comply. Boe an
If the inmate refuses to relinquish control of the food port after the waming, ‘the
officer is authorized to administer chemical agents against the inmate to secure the
food port. Alternatively, the officer may choose to contact a supervisor and await
further guidance in formulating a response.

If the inmate relinquishes control of the food port, it will be. secured and

designated staff will follow in-cell decontamination procedures.

In the event the use of chemical agents does not accomplish the goal of regaining
control of the food port, the officer shall back away from the cell and contact and
advise the custody supervisor of the incident. Controlled force will be-initiated
while custody staff continue to monitor the inmate. Health care staff shall.monitor
the inmate at least every 15 minutes. ee a
$1020.12 Controlled Use of Force General Requirements

Use of Force can be controlled when time and circumstances permit advance

* planning, staffing and organization. A controlled use of force requires

authorization and the presence of a First or Second Level Manager, or an AOD
during non-business hours. uy
The Incident Commander shall personally supervise the controlled use of force:

A controlled use of force shall not be accomplished without the physical presence
of licensed health care staff.

All controlled uses of force shall be video recorded. A verbal warning shall be
issued prior to a controlled use of force. The verbal warning shall contain. the
following five elements: :

Address the inmate by name.

Advise the inmate that he/she is being video recorded.
Order the inmate to voluntarily comply.

Advise the inmate of the intent to use chemical agents and Physica force if
he/she does not comply. Lk es
Advise the inmate that sufficient force will be used to remove. hiner ‘from
the area. :

All controlled uses of force shall include a cool down period of reasonable Jength
to allow the inmate an opportunity to comply with staff's orders. The length.of.the
cool down period can vary depending upon the circumstances.. The--First.-or.
Second Level Manager, or the AOD, shall determine the length of the cool down
period and communicate this to the use of force team. The Incident Commander
shall document the start time and duration of the cool down period on, the
CDCR 837-A/A1.

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$1020.12.1 Controlled Uses of Force-Video
Requirements

Each controlled use of force shall be video recorded. The camera
operator shall procure the camera, videotape or disc, backup videotape
or disc, and backup battery.

A briefing, including possible tactics to be used, shall be given to the
controlled use of force team by the Response Supervisor and/or
Incident Commander. This briefing does not need to be video recorded

and should be completed away from the presence of any inmates.

Only one incident shall be recorded on each video recording (videotape
or video disc will not include multiple incidents).

If the proposed controlled force involves an extraction of two inmates,
two camera operators shall be used. Each camera operator will be
designated an inmate prior to the application of the controlled use of
force and concentrate on that inmate during the recording.

Recording

The camera operator. shall ensure that an accurate date and time is

displayed on the recording.

Filming shall begin with the camera operator stating their name, rank,
date, time, and location of the controlled use of force.

___ The Incident Commander shall identify the inmate involved and state

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¢ — Video camera(s) with a back up videotape or disc and back up batteries.
Prior to an extraction, the Response Supervisor or Incident Commander shall
ensure that the members of the extraction team do not include any staff member .
who was directly involved in the incident precipitating the need for extracting the _
inmate, :
Placement of an inmate on the stomach for a-short period of time to restrain an...”
inmate is authorized; however once the inmate is exposed to chemical agents.
and/or if a spit hood/mask is placed on the inmate, staff shall not place the inmate
on his stomach, or in a position that allows the inmate to.end up on his stomach
for any period longer than necessary to gain or maintain control.
The inmate will be afforded an opportunity to decontaminate from the effects of,
the chemical agent. If the inmate is wearing a spit hood/mask the contaminated
hood/mask shall be replaced with a clean one as soon as practical.
The procedure for cell extractions where two inmates are in the cell remains s the
same as for a single celled inmate with the following additions: o
e Additional team members shall be assigned as determined by the incident - oa:
Commander. cee ta
e In the event one of the inmates is compliant with staff’s instructions, and if in
the judgment of the Incident Commander it is safe to open the cell door, the
inmate shal] be removed. If it is unsafe to remove the compliant inmate, he

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the circumstances of the proposed controlled use of force and/or
extraction.

The Response Supervisor, members of the controlled use of force team,
health care staff, and the First/Second Level Manager shall identify

‘themselves on camera.

The camera operator shall continue fi ining to the scene of the proposed
controlled use of force and record the events.

If the video recording is interrupted for any reason once the
incident/extraction has begun, the camera operator will give an
explanation verbally while recording. The entire incident must be
video recorded in one segment or scene. The video recording shall
continue as long as the inmate is resistive of staff or combative.

If chemical agents were used and the inmate is allowed ‘to
decontaminate, ensure the decontamination is filmed.

Video recording shall continue as health care staff conduct an initial
evaluation of the inmate, but shall stop while the inmate is treated.

_The Incident Commander shall determine when the incident has _

concluded.

§1020,12.2

Mentally Ill
When inmates are housed in departmental hospitals, infirmaries,
Correctional Treatment Centers (CTC), Enhanced Outpatient Program
Units (EOP), or Psychiatric Services Units (PSU), or have an EOP
level of care designation, the controlled use of force shall occur as
follows:

e __A licensed health care practitioner designated by the Health Care
Manager shall be consulted prior to the use of chemical agents
(see Chemical Agents Restrictions).

¢ Clinical intervention by a licensed practitioner shall be attempted.
Clinical intervention shall also precede the extraction of any
inmate who is being extracted upon the written order of a medical
doctor, psychiatrist, or psychologist to facilitate a change in
housing for treatment purposes.

e The clinician shall attempt to verbally counsel the inmate and
persuade the inmate to voluntarily come out of the area without
force. These efforts shall continue during the cool down period.

e Whenever circumstances permit, the clinician shall be a mental
health provider; i.e, Psychiatric Technician, Licensed Clinical
Social Worker, Psychologist, or Psychiatrist.

§1020.12.3 Extractions

Extractions are the most common form of the controlled use of force

and usually occur when the inmate Is in a confined area such as a cell,

holding cell, section, pod, or small exercise yard.

Controlled Use of Force Involving the Seriously

If an extraction becomes necessary, extraction team members shall be |

issued extraction equipment:

e __ Riot helmet, with protective face shield, protective vest, breathing
mask, elbow and shin protectors, gloves, and bloodborne
pathogen protective suit.

e Protective shield, approximately 22" wide and 48" long.
e — Short baton(s), handcuffs, and leg restraints.

~ shall be required to remain in the cell and appropriate instructions shall be
issued for the duration of the incident. :

The procedures for an extraction from an exercise yard, pod, or dayroom
whether in a segregated housing unit or general population remain the same
as cell extractions except as follows:

e Additional extraction team members or an n additional extraction team a
may be assigned as determined by the Incident Commander. ets
¢ In the event two or more inmates are to be extracted from the same...
area, at least one additional supervisor shall be assigned.
51020.12.4 Health Care Issues

When an immediate threat does not exist, controlled use of force Procedures st shall :
be followed for the following situations:

Involuntary Medication: on-duty Health Care Services staff shall ensure medical
authorization for the involuntary medication exists, and shall advise the Incident
Commander of such prior to the application of controlled use of force procedures,

Only departmentally approved four/five point restraints shall be applied by~
authorized medical/mental health staff in an-infirmary, CTC, or other CDCR’

medical facility upon the authorization of a physician or psychiatrist. On duty~ .'
Héalth Care Services staff shall ensure authorization exists, and shall advise the.

Incident Commander of such prior to the controlled use of force under these Loy
circumstances. o

Inmates who have a disability that prevents application of restraint equipment in

the prescribed manner shall be afforded reasonable accommodation under the
direction of the supervisor in charge. Mechanical restraints shall be applied to
ensure effective application while reasonably accommodating the inmate’s
disability.

Inmates who have a disability that prevents the employment of standard search.
methods shall be afforded reasonable accommodation under the direction of the ..
supervisor in charge. Such searches shall be thorough and professional, with :
safety and security being the paramount concern. vs

Admission into an Infirmary, CTC or Hospital: When a physician o or psychiatrist.
has determined it is necessary to admit the inmate into an infirmary, CTC, or

hospital, on duty Health Care Services staff shall ensure that medical authorization
for the admission exists, and shall advise the Incident Commander of such, prior to
the controlled use of force. Refer to Sections 51020.14.1 and 51020,.15.1 ‘foi
additional information. :
51020.12.5 Food Trays

Accountability for food trays is an operational concern for the safety and security
of institutions. It is important that the staff who issue food trays to inmates in cells,
account for all trays after the meal is concluded. ,

If an inmate attempts to break a food tray, the immediate use of chemical agents i is...
authorized to stop the threat of the inmate obtaining dangerous contraband. ™

If the inmate refuses to return a food tray, the supervisor and the First or Second
Level Managers shall be notified. Staff shall document the inmate’s refusal to
return the food tray on a CDC-115, Rules Violation Report.

The inmate will be advised that he shall not receive another meal until the first
scheduled mealtime after the tray is returned. Additionally, the inmate — and all
other inmates in the pod/section ~ will be placed on escort/restraint status to
prevent passing of contraband items. Inmates may exit their cells to acquire
various services. If the cell is vacated, staff will use that opportunity to retrieve
the food tray.

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Notice shall be provided to staff members working subsequent shifts to
ensure their awareness of the circumstances. Institution/facility staff
shall implement security measures to deter and prevent the movement
of the retained food tray from one cell to another.

If the inmate retains contro! of the food tray for a period of 24 hours,
the Manager shall determine if controlled force will be used to retrieve
the tray. This does not preclude the Manager from making a
determination, based on safety and security concerns, to retrieve the
tray using force prior to the 24-hour time frame.

If the goal of the controlled use of force is only to retrieve the tray, all
staff shall be informed of this in advance. If the inmate has retreated to
the back of the cell and the tray can be safely retrieved without the
application of force, then staff shall retrieve the tray and exit the cell.

51020.13 Processing Video Records

Video equipment, including cameras, batteries, and blank tapes or discs
shall be stored in a designated area at each institution. Video
recordings shall be maintained for a period of five years from the date
of the incident, or longer if warranted.

Video recordings shall be processed as follows:

¢ The camera operator shall label the tape with the date, time,

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51020,15.1 Chemical Agents Restrictions wat

While in the community, non-uniformed peace officers that are Jssued oc
products shall carry the product in a concealed manner, unless the peace officer
has a badge clearly displayed. .

In institutions/facilities where inmates are housed:

e CN/CS shall not be administered into a cell without the approval of the
Institution Head or Chief Deputy Warden.

e When the MK-46 projector is used in cells it should be used with the wand
applicator attachment. If it is  mnecessary to use the
MK-46 projector in cells without the wand applicator, care shall be taken to
avoid soft tissue damage to the inmate.

For controlled use of force incidents involving inmates housed in departmental
hospitals, infirmaries, CTCs, EOPs, and PSUs, or who have an EOP level of care

_ designation, a licensed health care employee designated by the Health Care

Manager shall be consulted prior to the use of chemical agents:

e The licensed health care practitioners shall document his/her
recommendation regarding whether or not there is a contraindication for the
use of chemical agents on a Medical Chrono (CDC 1280). This document
shall be included in the incident package.

inmate’s name and CDCR number, the camera operator’s name,
and incident log number, if applicable.

-@ The Incident Commander shall, prior to being relieved from duty,
forward to the designated area for storage any video recordings of
controlled uses of force and any video recordings of inmate
injuries or interviews following an immediate use of force or an
allegation of excessive or unnecessary force. _ The Incident
Commander shall ensure that all such recordings are securéd,
logged and processed in a manner to preserve evidentiary value.

Based upon individual institution space availability, an institution may
maintain evidentiary related video recordings and non-evidentiary
_video recordings in separate locations, which shall be identified within
a local supplement to this section.

51020.14 Use of Less Lethal Weapons

The 37mm and 40mm launchers are weapons designed to discharge
less lethal impact munitions or chemical agents. They are authorized
for use in all areas including segregated housing units, general
population housing units, dayrooms, dining halls, concrete yards,
exercise yards and work areas.

§1020.14.1 Use of Less Lethal Weapons for Inmates Identified
as Seriously Mentally Ill

In controlled use of force situations for inmates who are housed in
departmental hospitals, infirmaries, or other CDCR medical facilities,
or who have an EOP level of care designation, the use of less lethal
impact munitions is prohibited for direct or indirect use, i.e., body or
barricade removal, unless the Institution Head, Chief Deputy Warden,
or AOD authorize their use. Circumstances must be serious in nature,
calling for extreme measures to protect staff or inmates, i.e.; the inmate
may be armed with a deadly weapon. :

This does not preclude staff from using impact munitions in immediate
force situations to gain control of a disturbance in an exercise yard,
dayroom, dining room, or work area, involving inmates who may or
may not be known to be seriously mentally disordered.

§1020.14.2 Use of Less Lethal Weapons During Controlled
Uses of Force

The First or Second Level Manager may authorize the use of less lethal
impact munitions during controlled use of force situations in a cell, for
inmates not identified as mentally disordered, if the inmate is

barricaded, or if circumstances are serious in nature calling for extreme

measures to protect staff or inmates (the inmate is armed with a deadly
weapon).
§1020.15 Chemical Agents

Departmentally approved chemical agents include, but are not limited
to the following: Oleoresin Capsicum OC Chloroacetophenone (CN),
and Orthochlorobenzalmalononitrile (CS). OC may be issued to all on-
duty departmentally trained peace officers, certified in the use of
chemical agents. Employees shall only administer the amount of
chemical agents necessary and reasonable to accomplish the control
objective.

Staff shall make every. reasonable effort to maintain visual contact with
an inmate when administering chemical agents and until the inmate is
decontaminated.

concems regarding the use of chemical agents, the First/Second. Level
Manager authorizing the use of force and health care practitioners shall
discuss the matter to determine the best course of action. Health care staff
shall consider in providing their consultation, the potential for injury.during
the use of physical force, as well as the medical implication. of exposure to
chemical agents. After the consultation, the decision to use cheinical agents
or physical force shall rest with the First or Second Level Manager
authorizing the use of force.

e If the decision is made to go forward with the use of chemical: agents, the
licensed health care practitioners is responsible for ensuring proper medical
equipment and trained health care staff are available during and after the
application of the agent to treat the inmate for any adverse reaction due to
exposure. ES

¢ The Incident Commander shall document the results of the consultation and
the basis for the First/Second Level Manager’s final decision in the
Crime/Incident Report (CDCR 837-A) and on a General Ch
(CDC 128B) for the health care record. °

e Staff shall provide assistance to disabled inmates on a case-' by-case basis
who are exposed to CS/CN or OC and would otherwise have a difficult time
evacuating a contaminated area and/or to reasonably accommodate’ those
disabled inmates during decontamination procedures.

§1020.15.2 Decontamination from Chemical Agents - General”

Any inmate exposed to a chemical agent shall be afforded an | OPPS nity. to
decontaminate as soon as practical. —

If an inmate refuses to decontaminate, ‘no other action is necessary, 1€
inmate was exposed in a cell and not removed from the cell where the exposure
occurred. In these instances, refer to Section 51020.15.4.

Inmates who are in an adjacent cell or in the general area where chemical: z gents
are used are presumed not to be exposed or requiring decontamination’ unless
determined otherwise. MyM

Decontamination of those inmates not directly exposed to chemical agents will be
at the supervisor’s discretion based upon obvious, physical effects of. the chemical
agent. y 4
The need to medically treat an inmate for serious injury may supersede the need to
decontaminate from the effects of exposure to chemical agents.

Inmates exposed to chemical agents other than OC shall be allowed to change their,
clothes as soon as practical. mal ad

If CN/CS is used in a cell, the inmate must be allowed to exit the cell for exposure
to fresh air, take a shower, and to allow the cell to be decontaminated by vacuum
and provided clean linen and clothing. If the inmate refuses to come out, force
may be used as necessary to remove him from the cell to ensure the inmate is
decontaminated in fresh air and the cell is cleaned. :

If an inmate has been exposed to chemical agents subsequent to a spit ‘hood being
applied, the spit hood shall be removed and replaced with a new hood if it is safe
to do so. .

‘When an inmate is in a litter or gurney and needs to be decontaminated,.and is
cooperative, caution should be exercised if water is used to decontaminate to —
ensure the inmate’s airway is clear. If the inmate is not cooperative.and it, presents
a danger to either staff or the inmate to decontaminate with water in a litter/gurney,
then fresh air is an acceptable decontamination method. The Incident Corrimander

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e__. If,.during_the_consultation,_the. licensed_health care. practitioners_express__
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in conjunction with the health care staff shall evaluate the situation and
utilize an appropriate decontamination method.

§1020.15.3 Decontamination from Oleoresin Capsicum
Decontamination from OC may be accomplished by exposing the
individual to fresh moving air, or flushing the affected body area with
cool water, e.g., shower, sink water, or wet cloths.

Force shall not be used to decontaminate inmates/parolee from the
effects of OC unless a serious threat to the inmate’s health is present
and health care staff determine the inmate must be decontaminated.

No other decontamination is necessary for inmates who have been
medically treated and health care staff have determined the inmate has
been decontaminated.

As soon as it is practical and safe to do so, decontamination of the
affected cell and housing unit shall be accomplished by ventilating the
area to remove the airborne agent. Open doors and windows as
permitted, or use portable fans to speed up the process. If applicable
manually turn the air exchange system to high. A fan and the use of the
air exchange system is not recommended for any dry agent that is
utilized (i.e., expulsion grenades or muzzle blast). Wiping the area
_ down with damp cloths or mopping i is only necessary if a noticeable
amount of residue is visible-- ~~" ---— .
After decontamination, the inmate should not be returned to a
contaminated cell until sufficient time has elapsed to allow for
dissipation of the OC or until the cell has been cleaned.

§1020.15.4 In-Cell Decontamination from Oleoresin Capsicum
In-cell decontamination may be used for inmates housed in an

institution/facility when the Incident Commander determines that .

allowing an inmate to decontaminate in a shower is a safety concern.
An example would be an inmate who is extremely agitated, or an
inmate on whom force was used to insert him/her into the cell or secure
the food port. The circumstances leading to the order for in-cell
decontamination shall be clearly explained in the Response
Supervisor’s/Incident Commander’s report.

If an inmate refuses to decontaminate, no other action is necessary,

unless the inmate was not removed from the cell where the exposure

occurred. In these instances, in-cell decontamination procedures

described below will be followed:

Health care staff shall advise the inmate how to self-decontaminate in

his cell using water from the sink. Health care staff shall monitor the

inmate approximately every 15 minutes for,a period of not less than 45

minutes starting from the last application of chemical agent.

Health care staff shall document the fact the inmate was given

instructions and the approximate times of the 15 minute observations

on a CDC 7219, Medical Report of Injury or Unusual Occurrence.

If the inmate is under medical supervision, the documented 15-minute

observations are not necessary.

As soon as it is practical and safe to do so, decontamination of affected

housing units shall be accomplished by ventilating the area to remove

the airborne agent. Open doors and windows as permitted, or use

portable fans to speed the process.

§1020.16 Application of Spit Hoods or Masks

Only departmentally approved spit hoods/masks are authorized for use.

A spit hood/mask shall not be placed upon an inmate who:

« Is ina state of altered consciousness (visibly drowsy, stuporous,
or unconscious) or;

° Has any visible signs of a seizure; or /

e Is vomiting or exhibits signs of beginning to vomit.

A spit hood/mask may be applied to an inmate if.

« Staff believe there is verbal or physical intent by the inmate to
contaminate others with spit or other bodily fluids from the nose
or mouth; or

e The inmate is not able to control expelling fluids from the nose or
mouth (with the exception of vomit); or

¢ - The inmate is on authorized security precautions according to the
procedures of the unit where the inmate is housed.

. If the inmate was contaminated with OC before the mask was
applied, the mask shall be kept on until the inmate is afforded
decontamination unless the inmate is in a state of altered
consciousness (visibly drowsy, stuporous, or unconscious); or has
any visible signs of a seizure; or is vomiting or exhibits signs of
beginning to vomit. In this case the spit hood/mask will be

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removed immediately and appropriate treatment will be administered. . od

If a spit hood/mask was applied and the inmate loses consciousness, begins ae
seizing, or begins vomiting the spit hood/mask shall be removed immediately and
appropriate treatment will be administered.

If a spit hood/mask is applied to an inmate, it is imperative that constant . ~
supervision of the inmate be maintained for signs of respiratory distress. If any
respiratory distress is observed, the spit hood/mask shall be removed until the
signs of respiratory distress have dissipated.

Once an inmate is exposed to chemical agents and/or if a spit hood/mask is placed ‘~.
on the inmate, staff shall not place them on their stomachs, or in a position that! an
allows the inmate to end up on his stomach, for any period longer than necessary “* 0° .:1..
to secure (e.g. handcuff) and/or gain control of the inmate. A prone position

makes it difficult for any exposed individual to breathe and may be a contributing. ~ .... -
factor in positional asphyxia. Positional asphyxia occurs when an individual’s.
body position interferes with respiration, resulting in death. :

If an exposed individual is in handcuffs and requires transportation via a gumey,
stokes litter, etc., he shall be positioned on his back or side.

Prior to the use of chemical agents, the building ventilation system must be tumed.
off. Ifthe inmate is located in a cell, all water to the cell should be shut off.

51020.17 Uses of Force-Reporting Requirements

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~ Every staff use of force is an incident that shall be reported. Uses of force include

non-deadly force, deadly force, immediate force, controlled force and non-~
conventional force. Verbal commands, the application of restraints to an:
unresisting inmate and the movement of an unconscious or otherwise incapacitated
inmate are not uses of force.

Any employee who uses force or observes a staff use of force shall report it to a
Supervisor as soon as practical and follow up with appropriate documentation prior

to being relieved from duty. Cs
The CDCR 837 Crime/Incident Report forms are used for reporting uses of force.
Written reports regarding both immediate and controlled use of force shall be
documented on a CDCR 837. . fon
Documentation shall identify any witnesses to the incident and describe the -~.°
circumstances giving rise to the use of force, and the nature and extent of the force::
used. For more details on written reports and forms see DOM Section 51030. .
51020.17.1 Involved Staff-Reporting Requirements

e — Written reports regarding staff uses force shall be documented on a CDC :
837-C. Reports must be prepared by the employee participants or witnesses:
and reviewed by the Incident Supervisor prior to the employee being relieved
from duty. Staff shall not collaborate with each other in the preparation of.
reports.

¢ — If possible, identify important information in the contents of the report. ai
follows: :

e Identities of staff that observed and/or participated in the use of force.

e Description of the actions of the inmate and circumstances leading to the u use
of force.

¢ — Description of the specific force used or observed.

¢ If chemical agents were used, identify the type of projector used, and from
what distance, e.g., a burst of OC from an MK-3, from six feet.

e Description of the inmate’s level of resistance.

¢ — Description of why force was used and description of the threat perceived. . ay

* Description of any identified disabilities ascertained through any tracking

system and what form of reasonable accommodation and/or assistance was
provided during and after the controlled use of force.

° Description arid observations of staff or inmate injuries and the cause of the ©
injury, if known. “

. Description of observations of decontamination of chemical agents or
medical attention given.

* Description of observations or knowledge of the steps taken e
decontaminate the housing unit, and those inmates not directly exposed to~.
chemical agents.

. Documentation of any inmate allegation of an unnecessary or excessive use mo
of force. wbcos
Reports should not normally contain clichés, buzzwords, slang terms; or.
profanity except as a direct quote. 7

§1020.17.2 Involyed Staff-Additional Reporting Requirement for Deadly

Force /

An employee who intentionally or accidentally uses deadly force, whether on or

off-duty, shall ensure that a supervisory employee is verbally notified of the

incident without delay. A written report shall also be required. This reporting is

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_-51020.17.4____. Response. Supervisor- Reporting Requirements

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not a requirement for the lawful discharge of a firearm during weapon’s
qualifications, firearms training, or other legal recreational use of a
firearm.

51020.17.3 Video Records Made After Immediate Uses of
Force That Cause Injury and Allegations of Unnecessary or
Excessive Force

A video recording of an inmate shall be made under the following -

circumstances:

e The inmate has sustained a serious bodily injury or great bodily
injury that could have been caused by a staff use of force.

e ‘The inmate has made an allegation of an unnecessary or excessive
use of force.

Any visible or alleged injuries shali be video recorded. The video
recording shall be conducted by persons not involved in the incident.
The video recording should be made within 48 hours of discovery of
the injury or allegation.

The video recording shall also include a request of the inmate to be
interviewed regarding the circumstances of the incident. If the inmate
refuses to be video recorded, such refusal shall be recorded.

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called to work, If the 72 hours ATO overlap with a period of pre-scheduled time

off (i.e. vacation, holiday, sick leave, etc.) the ATO will be used in lieu of, not in

addition to the affected employee’s leave credits.

As soon after the incident as is practical, the response supervisor must also initiate

Employee Post Trauma Program (EPTP) protocols as delineated in DOM Section

31020.6.4.

51020.17.6 Health Care Staff Use of Force-Reporting Requireitients /

Health Care Services staff shall complete and submit a CDCR 837-C: whenever a

Health Care Services staff member: .

¢ — Observes an immediate (not controlled) use of force.

e — Uses force on an inmate.

¢ Provides clinical intervention prior to a use of force.

e Hears an inmate allegation of an unnecessary or excessive use of force
during a reportable incident. (If not already reported on a CDC 7219),
In addition to the requirements noted above, Health Care Services
practitioners shall complete and submit a CDC 7219 when assigned as a
member of a controlled use of force team. The CDC 7219 shall be
completed and submitted to the Response Supervisor prior to the health care
staff leaving the institution and shall: att

In addition to writing his/her own report when applicable, prior to
being relieved from duty the Response Supervisor shall:

e Gather written reports from staff involved in the use of force
incident.

e Serve as the first level of review for all subordinates’ reports and
shall ensure that all necessary information is contained in these
reports. The Response Supervisor is expected to ensure that each
employee’s report is prepared independent of any other report.

e Ensure no involved employee is relieved of duty prior to
receiving his/her written report, unless the employee is physically
unable to prepare the report due to an injury. If due to the
circumstances a verbal report is not possible, the Response
Supervisor shall explain the reason for not taking a verbal report.

. Obtain applicable medical reports from health care staff, inspect
the form(s) and determine if all relevant information is present.

. Tf applicable, complete Report of Occupational Injury or Illness

Form (SCIF-3067).

e If applicable, complete State Compensation Insurance Fund
Employee Claim for Workers’ Compensation Benefits Form
(SCIF-3301).

° If applicable, complete Department of Health Services Report of
Request and Decision for HIV Testing (CDC-8439) in cases of
potential exposure to blood borne pathogens.

$1020.17.5 Response Supervisor-Additional
Requirements for Deadly Force

When there has been a use of deadly force, the on-duty supervisor shall
ensure that the chain of command is notified and all necessary health
and safety, medical, and security measures are initiated. The supervisor
shall go to the location and ensure that the scene is protected.

For incidents occurring in an institutional setting, the Watch
Commander shall contact the institution’s ISU.

For incidents occurring in a community setting, the on-duty supervisor
shall ensure local law enforcement is contacted.
The supervisor shall ask the employee who used deadly force to
provide a public safety statement immediately after the incident. This
is the employee’s oral statement. This statement helps determine the
general circumstances of the incident, assess the need for resources, set
the perimeter, locate injured persons, and determine the nature of the
evidence to be sought. It shall provide basic information such as the
number of persons involved in the incident, the number not yet in
custody and number and direction of shots fired. The statement shall
not include, and the employee should not be asked to provide, a step-
by-step narrative of the incident or a motive for his/her actions.

The supervisor shall capture the essence of the oral statement in writing ~

and submit it to the Incident Commander.

In circumstances where the use of deadly force results in death or GBI,
the staff using the force will be placed on administrative time off
(ATO) for 72 hours in order to facilitate department interviews and
staff wellness. These 72 hours will be paid contiguous time off, unless
they are scheduled regular days off (RDO). RDOs will count toward
the contiguous 72 hours but will not be paid unless the employee is

’ Reporting.

Include a quote of the inmate’s own words in the patient comment section. ‘y

* Document observations of the area on the inmate where force was applied:
after specific examination.

e — Include comments or information gamered from custody staff regarding the
type and amount of force used.

¢ Document the injuries sustained and the medical treatment rendered. .
¢ Document if the inmate refuses medical examination and/or treatnient,.

¢ Document any alternative assistive device provided and any medical
- recommendation / accommodation suggested during and. after. the, use of
force. .

¢ Document in-cell decontamination ‘instructions and times of.
checks, if applicable. ‘

e In controlled use of force cases when consultation regarding the use of
chemical agents is warranted, the Health Care Services employee providing
the consultation shall complete and submit a Medical Chrono (CDC 128C)
documenting whether or not there is a contraindication to the use of Fchemical
agents. :

e Physical efforts used to restrain appendages of an uncooperative inmate into
four/five point restraints during Range of Motion shall be documented on the
inmate’s Health Record. A

In addition to the above requirements, Health Care Services practitioners shall. be
responsible for providing custody staff and the Use of Force Coordinator, with
notification and updated information in the event that the aftercare treatment
process reveals new facts about the severity of a force related injury. cathe
51020.17.7 Incident Commander-Reporting Requirements ,
It is the responsibility of the Incident Commander to notify the Office of Internal
Affairs (OIA) and the Bureau of Independent Review (BIR) as soon as possible,
but no later than one hour from the time the incident is discovered, of any use of
deadly force and every death, great bodily injury or serious bodily*injury that
could have been caused by a staff use of force. Depending on the specific. MOU
- and the nature of the incident, a call to the county sheriff or police department may
also occur.
Prior to being relieved from duty the Incident Commander or designee shall:

¢ Complete the CDCR 837-A/A1 and CDCR 837-B. This shall be‘an accurate

summary of the events as described in the written reports submitted by all
employees. shen

e Prepare the initial incident report package. This ~ includes - the

CDCR 837-A/Al, B and C forms; any applicable medical -forris:: arid the

Manager/AOD Report of the Controlled Use of Force, if applicable: .* - - ..3

¢ — Review all incident reports for quality, accuracy and content.

* — Clarify incomplete reports with involved staff by completing a
CDCR 837-C-2/3. o

e — Incontrolled use of force cases in institutions/facilities involving involuntary
medication, placement into four/five point restraints, or admission into ah
infirmary, CTC or hospital, the Incident Commander shall include in thé
CDCR 837-A/Al1, the name and title of the on duty Health Care Services
staff that verified the appropriate medical authorization existed prior to the
use of force.

e¢ Prepare and submit a separate CDCR 837-C if he/she actually used force
during an incident, or observed the immediate use of force. 2 :

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~ force is required to be present during the use of force: After the use of ~~ OF the Wateh Cominiander and determine if the related incident report exist

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° Ensure the initial incident package is submitted to DAI / §1020.18.2 Allegations of Excessive or Unnecessary Force- Incident:
_ Identification and Warrants Unit, and the respective Associate Commander and Appeals Coordinator Reporting Requirements

Director over the institution’s Mission Based Region. When informed of allegations of the use of unnecessary or excessive force, the :
e Ensure the initial incident package is submitted to the Warden’s Incident Commander and/or the Appeals Coordinator shall make an initial. ss - 3

Office, the Use of Force Coordinator, and, if requested, to the assessment of the information received and notify the appropriate First or Second

OIA and BR. / Level Manager as soon as practical. The Incident Commander and/or the Appeals. .

Coordinator shall determine whether the seriousness of the allegations and/or —
extent of the reported injuries warrant immediate notification of the First or
Second Level Manager. Additionally, the Incident Commander and/or the
Appeals Coordinator shall: :

* Ensure health care staff have evaluated the inmate and.a medical report has
been completed.

e Ensure all force related video recordings of inmate injuries or
interviews and recordings of controlled force are forwarded to the
appropriate location, as set forth in Section 51020.13.

° Initiate the Use of Force Review process as set forth in
Section 51020.19.1. However, should an incident or allegation
warrant investigation by the DFIT, the OIA, or any other outside

investigating agency, the Incident Commander shall suspend all ¢ Review written reports of witnesses and obtain statements from inmate

review of that incident until the investigation is complete. In the witnesses, if any. a.

event the Manager believes an investigation may be necessary, * Ensure that the inmate’s injuries are video recorded and the inmate is. -: ,

the Manager shall recommend that the case be referred for interviewed within 48 hours in accordance with the requirements set forth in - -

investigation. 51020.17,.3. This shall be done as soon as possible upon receiving verbal.

51020.17.8 First/Second Level Manager-Reporting notification of the allegation.

Requirements for Controlled Uses of Force e¢ When an allegation is received, whether verbally or through the appeals’) =: -*
The First or Second Level Manager authorizing the use of controlléd process, the Appeals Coordinator or Incident Commander shall contact ISU... *

controlled force, the First/Second Level Manager shall complete a The respective Appeals Coordinator or Incident Commander shall note: the
Manager’s/AOD Report of Controlled Use of Force. This form shall be existence of the incident report by log number in their submittal prior
included as part of the incident package and fulfills the reporting . forwarding the allegation for administrative review.
responsibilities of the First/Second Level Manager who authorized the * — If the inmate has suffered serious bodily injury or great bodily ir injury, the
controlled use of force incident. Incident Commander shall notify the OIA and the BIR as soon as possibl
In controlled use of force cases when Health Care Services clinical staff but no later than one hour from the time the incident is discovered, In,
expresses concerns regarding the use of chemical agents, and the instances where the allegation was submitted through the inmate appeal
decision to go forward is made by the First/Second Level Manager, the process and there is no corresponding incident report, the Appeals _
First/Second Level Manager shall document the results of the Coordinator shall, in consultation with the hiring authority, notify the OIA’-~
consultation and the basis for his/her final decision on a General and BIR. :
Chrono (CDC 128B) for the health care record and the incident ¢ If, at any point in the review, the Incident Commander and/or the Appeals
package. Coordinator discovers information that leads him/her to reasonably believe
$1020.18 Reporting Allegations of Unnecessary 0 or Excessive or suspect an employee has committed any serious misconduct, the Incident ° © -
Force / Commander and/or Appeals Coordinator shall: immediately forward all
Any employee who observes a use of force that is unnecessary or information to the Institution Head via the chain of command,
excessive shall attempt to stop the violation. Any employee who. recommending an internal affairs investigation if appropriate.
becomes aware of an allegation of unnecessary or excessive force, ¢ Prepare a Report of Findings (CDCR Form 3014) and/or Appeal Inquiry. -
whether it occurs during a reportable incident or not, shall verbally The report shall contain the allegations made, an explanation of the incident,
report the allegation to a custody supervisor as soon as possible, the written or verbal statements of the witnesses, the health care information,
followed with appropriate documentation. and a conclusion and recommendation. Bo
If the allegation occurs in conjunction with a reportable incident, the . Submit the Report of Findings and/or Appeal Inquiry and evidence through
incident shall be reported in accordance with the requirements set forth the chain of command to the Institution Head. The evidence shall includé
in this Article and any such allegation shall be documented arid copies of the medical reports, and any other documentation that is deemed .. |:
included in the incident report package. Each involved employee shall significant to further document the incident/allegation. If the’ Incident
document all details regarding any allegations or observations of use of Commander learns that the verbal allegation is part of a reported incident, the
force that is unnecessary or excessive, This includes a quote of the incident package shall be included with the Report of Findings:
allegation, or what was seen or heard, including observations of any Correspondingly, if the Appeals Coordinator learns that the written allegation
apparent injuries, and the name of the supervisor the employee reported is part of a reported incident, the incident package shall be included with the
the allegation to. . appeal for administrative review. . Ba
All reports shall be submitted to a custody supervisor. 51020.19 Reviewing the Use of Force Dose ad
51020.18.1 Allegations of Excessive or Unnecessary Force- Each Institution Head shall establish and chair an IERC to evaluate and review
Supervisor Reporting Requirements every use of force.and every allegation of excessive or unnecessary force. Each... .
Whether or not the allegation of excessive or unnecessary force is made incident or allegation shall be evaluated at both supervisory and management -
in conjunction with a reported use of force, a supervisor who learns of levels to determine if the force used was reasonable under policy, procedure, and
such an allegation shall: applicable law.
e Make a verbal notification to the Incident Commander as soon as Documentation of all use of force incidents and allegations of excessive or

practical. ‘ unnecessary force shall be reviewed at supervisory and management levels.
e Arrange for the inmate to be medically examined and request a For reported incidents, a good faith effort must be made at all levels of review in

full medical assessment of injuries, if any. order to reach a judgment whether the force used was in compliance with policy,

procedure and applicable law and follow-up action if necessary. The following

e — Ensure every staff member who witnessed the allegations and/or
factors must be evaluated:

staff who witnessed the event leading to the allegations

immediately submits the applicable report. e The threat perceived by the responsible individual applying the force.
e Review any reports for clarity. e The need for the application of force
° Submit a package of all documents relating to the allegation, . The relationship between that need and the amount of force used
including a copy of the medical report, to the Incident ¢ The extent of the injury suffered
Commander.

. Any efforts made to temper the severity of a forceful response." .
Should an incident or allegation warrant investigation by the DFIT, the OIA; i fo
any other outside investigating agency, the IERC shall suspend all review of that.
incident until the investigation is complete. The IERC shall consider . the -

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completed investigative report, and any report by the DFRB, as part of

its own review.

§1020.19.1 Incident Commander Review

The Incident Commander shall review the incident package
documentation to ensure that it is adequately prepared and shall reach a
judgment whether the force used was in compliance with policy,
procedure, and applicable law.

The Incident Commander shall:

° Review all incident reports for quality, accuracy, and content,
including, in cases in which allegations of unnecessary or
excessive force was alleged, the CDCR Form 3014. —

* Clarify incomplete reports with involved staff by completing a
CDCR Form 837-C-2/3 Crime/Incident Review Notice to the
applicable employee.

e Submit the completed incident package to the First Level
Manager.

e Complete an Incident Commander’s Review / Critique Use of
Force Incidents form. The report shall contain an explanation of
the incident, the written or verbal statements of the witnesses, the

health.care.information,.and.a.conclusion.and recommendation.

e In the event the Incident Commander believes an investigation
may be necessary, the Incident Commander shall suspend review
and recommend that the case be referred for investigation.

51020.19.2 First Level Manager Review

The First Level Manager of the area where the incident or allegation

occurs shall reach a judgment whether the force used was in

compliance with policy, procedure, and applicable | law.

The manager shall:

° Review all documentation in the incident package, including, in
cases in which allegations of unnecessary or excessive force was
alleged, the CDCR Form 3014.

e —_ Review the quality of all reports to ensure the use of force was
properly documented and reviewed. This includes a review of the
Incident Commander’s conclusions.

e Conduct an in depth analysis to determine if the use of force
described in the incident package was within the guidelines of the
Use of Force Policy and Procedures. This analysis should address
any non-compliance with policy not identified earlier.

e Complete a review of the incident or allegation on the Manager’s

Review — First Level form.

e In the event the Manager believes an investigation may be
necessary, the Manager shall suspend review and recommend that
the case be réferred for investigation.

51020.19.3 Second Level Manager Review

The second level manager is the final level of review prior to the
completed incident package being sent to the Use of Force Coordinator
for review by the (IERC). The manager shall reach a judgment whether
the force used was in compliance with policy, procedure, and
applicable law.

The second level manager shall:

e Review all documentation in the incident package, including, in
cases in which allegations of unnecessary or excessive force was
alleged, the CDCR Form 3014.

° Review the quality of all reports to ensure the 1 use of force was
properly documented and reviewed. This includes a review of the
Incident Commander’s conclusions and the First Level Manager’s
conclusions.

e¢ Complete a review of the incident or allegation on the. Manager’s
Review — Second Level form.

¢ Determine if any corrective action taken by his/her subordinates
in relation to the incident was adequate/proper.

"© Conduct an in depth analysis to determine if the use of force

described in the incident package was within the guidelines of the
Use of Force Policy and Procedures. This analysis should address
any non-compliance with policy not identified earlier.

° In the event the Manager believes an investigation may be
necessary, the Manager shall suspend review and recommend that
the case be referred for investigation.

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Use of Force Coordinator Responsibility . , “4

The Use of Force Coordinator shall log and track all use of force incidents and all
allegations of excessive or unnecessary force (including those set-forth in inmate
appeals) to ensure thorough and timely review by the IERC.

For incidents involving a reported use of force, the Use of Force Coordinator shall
prepare an IERC Use of Force Review form. The form provides for the brief
review of all aspects of a use of force incident, including whether or not all actions
were consistent with policy, and a means for the Use of Force Coordinator to
recommend additional clarification or revision to policy, procedure or training for
the IERC’s consideration.

For allegations of excessive or unnecessary force that do not involve a reported use
of force set forth in an incident package, the Use of Force Coordinator shall
prepare an Allegation Review package. we
The Use of Force Coordinator shall normally schedule all logged u: use of force
cases for review within 30 days of their logged occurrence. Any use of force
incident or allegation review that is over 31 days old, and has not received an
initial review, shall be scheduled for review at the next scheduled IERC meeting.
Unless there are outstanding issues or a corresponding investigation, this review
will be both an initial/final review.
Any logged use of force occurrence that included allegations of unnecessary or
~—excessive- force;-serious~bodily-injury; GBI or-death-shall-be-prioritized-after 30
days for final review, upon receipt of any corresponding investigations or final
documents. In any event, the IERC Chairperson shall review the status of all
pending UOF cases during each IERC Meeting, and assess the status for final
review of these cases.

If a completed package has not been received by the Use of Force Coordinator
within 31 days of the incident, the Use of Force Coordinator shall conduct ‘a
preliminary review of the case, and present it to the IERC for initial review. Once
the Use of Force Coordinator has received and analyzed the completed package,,
the case will be rescheduled for final review by the IERC.

The initial review of the uncompleted package (initial -incident package) ‘is
intended for the IERC to preliminarily review and document the incident for
obvious procedural concerns and does not require an IERC Critiqlé’:and
Qualitative Evaluation form to be completed. The FERC Critique and Qualitative
Evaluation form will be completed following the review and analysis ‘of the

completed incident package.

The Use of Force Coordinator is responsible for preparing the completed use of

force incident package for review by the IERC as follows:

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The Use of Force Coordinator shall regularly schedule IERC mee! nigs. The
BIR shall be provided reasonable notice and copies of the comple
packages to be reviewed in advance of the meetings.

- The Use of Force Coordinator shall conduct an in-depth” analysis of the

documentation of each use of force case, including the conclusions of the
supervisor/managers, on the IERC Use of Force Review form.

The Use of Force Coordinator shall prepare complete copies of the incident
packages to be reviewed by the IERC, which shall include a written
recommendation on the IERC Use of Force Review form regarding whether
the force used was in compliance with policy, procedure, training . and
applicable law. This format addresses critical review areas. '

After the IERC’s final review all documentation of staff training or disciplirie
will be removed from the incident package and routed to the appropriate
Manager. for placement into the appropriate file, | i.e., employee’s training or
supervisory files.

The Use of Force Coordinator may recommend that additional clarification
or information is necessary. If the IERC determines additional information
or clarification is required, the Use of Force Coordinator -will forward‘a
request for this information to the responsible Manager and~ track. the

- assignment. The Use of Force Coordinator will maintain a copy of the

completed incident package until. the information/clarification is réceived.
The Use of Force Coordinator wil! then complete the analysis and; esubmit
the case to the IERC. :

The Use of Force Coordinator may also identify and recommend is
policy, procedure or training for the IERC’s consideration onthe’ IERC
Further Action form. The Use of Force Coordinator will submit the IERC
Further Action form to the IERC for review.

If an investigation has been requested for a use of force incident, the Use of
Force Coordinator will track and maintain the completed incident package
until completion: of the investigation. Upon the completion of the
investigation, the IERC Chairperson will be provided a copy of” the
investigation report and then complete the analysis and present the case’ td
the IERC. During the IERC, the Use of Force Coordinator will verbally
present his/her recommendation regarding completed cases. Investigative

—“followirig institutional staff-—

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réports will be returned to the Investigative Services Unit Office
upon completion of the final IERC review of the incident

¢ The Use of Force Coordinator will ensure the IERC findings are
documented on the IERC Critique and Qualitative Evaluation
form.

« In cases involving allegations of excessive or unnecessary force
in which an Incident Commander or an Appeals Coordinator has
forwarded a Report of Findings or an Appeal Inquiry, the Use of
Force Coordinator shall prepare an Allegation Review form for
review by the IERC and signature by the IERC Chairperson.

. After each IERC, the Use of Force Coordinator shall forward a
memorandum to the respective Associate Director Office that
provides the date of the meeting, a listing of incidents and
allegations reviewed, and notation of the disposition.

51020.19.5 Institution Executive Review

Monitoring Responsibility

The IERC is a committee of executive staff tasked with reviewing

reported use of force incidents and allegations of excessive or

unnecessary force. The JERC is the final level of review for most non-
deadly use of force incidents. Normally, the IERC is comprised of the

Committee

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respective Mission-based group. The DERC shall review all incidents involving \

deadly force, serious injury, great bodily injury, or death. The DERC shall also... -

review those incidents referred to the DERC by the TERC _ Chairperson. or
otherwise requested by the DERC. sy
The DERC shall conduct a review of the incident and document its findings on the
DERC Use of Force Review form. The DERC shall also review the actions of thé
TERC and in the event the DERC has questions or concerns with actions taken by
the IERC, the DERC shall take appropriate action. ~
The DERC shall refer incidents of a major magnitude to the Director of DAI for
final review. 7
51020,20 Investigating Deadly Force and Any Use of Force That Could’ -

Have Caused Death or Great Bodily Injury “

Every use of deadly force and every death or great bodily injury that could ‘have n

been caused by a staff use of force shall be investigated by the DFIT and reviewed ~
by the DFRB. ‘
51020.20.1

Deadly Force
For incidents occurring in an institutional setting, involving the use of deadly force
and any use of force resulting in death or GBI, the ISU shall take preliminary
charge of the investigation and will remain in charge of the investigation while

Investigative Services Unit (ISU) Monitoring the Use of

e Institution Head or Chief Deputy Warden, as chairperson and
final decision maker,

. At least one other manager assigned on a rotational basis,
e In-Service Training Manager,

e One health care employee, and

e A Use of Force Coordinator.

e Other designated supervisors and rank and file staff may also
attend, as determined by the appointing authority. A
representative of the BIR may also attend and monitor IERC
meetings.

° The JERC shall meet to review its cases on at least a monthly
basis, or on a schedule to ensure all cases are reviewed within 30
days. Unless there are outstanding issues or a corresponding
investigation, this review will be both an initial/final review.

e During the IERC, the Chairperson shall personally view a
minimum of 30 percent of all video recordings arising from
controlled use of force incidents.

The IERC shall determine if the use of force was reasonable and in

compliance with policy, procedures and training. The IERC shall also

examine the critique and conclusions of subordinate managers and
supervisors, and ensure the appropriateness of completed
documentation.

The IERC shall complete an Allegation Review of all allegations of
excessive or unnecessary force.

The IERC may initiate requests for additional information or
clarification (clarification requests will be routed to the responsible
Manager and tracked by the Use of Force Coordinator). The final
review will determine whether the use of force was reasonable. :

The IERC may recommend changes to procedure or training. The
IERC is also responsible for identifying possible employee misconduct
and recommending the initiation of training, corrective action or
disciplinary action in such cases. However, only IERC members in
supervisory or management roles (including the Use of Force
Coordinator) and the BIR may participate in discussions involving the
initiation of corrective or disciplinary action.

The hiring authority may initiate changes to local procedure or training
based on the findings or recommendations of the IERC, or forward a
recommendation of change to the CDCR policy or procedure via the
Associate Director. The Institution Head may also initiate corrective or
adverse employee action based upon the findings or recommendations
of the IERC.

Should an incident or allegation warrant investigation by the DFIT, the
OIA, or any other outside investigating agency, the IERC shall suspend
all review of that incident until the investigation is complete. The
IERC shall consider the completed investigative report, and any report
by the DFRB, as part of its own review.

51020.19.6 Department Executive
Monitoring Responsibility

The Department Executive Review Committee is a committee of staff
selected by, and including, the Associate Director who oversees the

Review Committee

contacting the DFIT to inform them of the incident ——

For incidents occurring in a community setting, local law enforcement and the
DFIT shall take preliminary charge of the investigation.

For every discharge of deadly force from a firearm, the ISU shall be tasked with’.

making the prompt determination of whether the deadly force was a warning shot ."':
and whether anyone suffered any injuries as a result of the deadly force. The ISU .- »

shall verbally notify the DFIT of its determination as soon as possible and shall:
confirm its determination, along with the reasons in support of it, in a written
memorandum to be forwarded to the DFIT. If the ISU is unavailable toa assume.
this responsibility, an uninvolved supervisor shall do so :

51020.20.2 Deadly Force Investigation Team Responsibility

Trained Department investigators assigned to a Deadly Force Investigation Tea
shall conduct criminal and administrative investigations of every use of deadly’
force and every death or great bodily injury that could have been caused by a staff «
use of force. All DFIT criminal investigations will be referred to the local District.
Attorney for review where MOU’s provide for referral. "
Based on certain local Memoranda of Understanding, criminal investigations may .
instead be conducted by an outside police department or sheriff's office. If an
outside law enforcement agency is conducting the criminal investigation, the DFIT
investigator will monitor the progress of the criminal investigation while providing
appropriate support.

DFIT need not investigate the discharge. of deadly force inside an

institution/facility if a member of an Investigative Services Unit, or an uninvolved
supervisor, confirms that the discharge of deadly force was a warning shot and that
no injuries were caused by the shot.

51020.20.3 Deadly Force Review Board

The DFRB is the board responsible for conducting a full and complete review of. . °
all incidents involving a use of deadly force (except waming shots) and every . °~...;

death or great bodily injury that could have been caused by a staff use of force,
regardless of whether the incident occurs in an institutional or community setting. apt

The DFRB shall be composed of at least four members. Three shall be -no
departmental law enforcement professionals. One (1) shall be a Division, Parole
Region, or Institutional/facility manager (ie. Associate Directors, : DIF
Superintendents, Chiefs or designees) from outside the chain of command of the
involved employee(s). Additional members may be designated by the Secretary, or
designee.
The reports and findings generated from the separate investigative bodies (DFIT
and local law enforcement if applicable) will be presented to the DFRB. The.

DFRB shall be convened as soon as possible after the criminal and administrative ,

investigations are completed.

The DFRB shall examine all aspects of the incident to determine the extent to ,
which the use of force complied with departmental policies and procedures, and to
determine the need for policy, training, and/or equipment modifications.

The DFRB shall report its findings and recommendations in writing, to the
Undersecretary assigned to oversee the DAI.

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51020.21 Use of Force Data

Designated staff shall maintain a database containing use of force
information. The database should be capable of producing statistical
reports to monitor trends and patterns of force used, whether the report
is received in the form of an incident report, a verbal allegation of
excessive or unnecessary force, or an allegation contained in inmate
appeal. At a minimum the database should address the following
categories: .

° Date of incident.

e Specific area of institution.

° Staff involved.

e Controlled or immediate use of force.
° Reason for use of force.

e Use of impact munitions.

e Identified inmate disabilities and steps that: were taken to
reasonably accommodate the inmate during and after the use of
force.

e Allegations of unnecessary or excessive use of force.
e___ Serious injury, great bodily injury or death.

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Director, the departmental Officer-of-the-Day or the Deputy Diréctor, P&CSD as
described in this section. :

51030.2 Purpose

This procedure defines staff responsibility and provides procedures and criteria for
reporting incidents occurring within the Department.

51030.3 Reportable Incidents
Examples of incidents which shall be reported:

e ~— All felonies committed by inmates, parolees, employees or the public on
institution property, during transportation or-under the jurisdiction of parole
regions.

e General or partial lockdowns.

¢ Riots, inmate strikes or general demonstrations.

. Major power failures.

e — Serious accidents or injuries.

« Deaths,

e Significant damage or destruction of state property. : .
e« Escapes or attempted escapes, (refer to DOM 55040, Escape Pursuit).

© Any state of emergency as described in CCR 3383. .

§1020.22 External Review of the Use of Force - The Use of
Force Coordinator Responsibility

For purposes of an external review, the Use of Force Coordinator shall
identify and retain use of force cases closed by the FERC during the
review period. External reviews of closed use of force ¢ cases shall be
conducted at least every 24 months.

51020.23 Revisions - Use of Force Joint Use Committee
(SUC) ,

The Use of Force JUC is a committee of field staff tasked with
reviewing and evaluating recommended revisions to the CDCR’s Use
of Force Policy and Procedures.

The JUC shall be comprised of the following field staff: .
e —- At least one Institution Head, as chairperson

e _ At least one staff member from each DAI, mission: based region,
at the level of Lieutenant or Captain

. At least one Use of Force Coordinator,

e —_ At least three representatives from the CCPOA, as designated by
the CCPOA 1

° The Chief of BIR or designee, and
¢ Others as needed and assigned by the Deputy Director, DAI,

° The JUC shall meet quarterly as necessary, but not less than
annually, to review recommended revisions

§1020.23.1 Revisions Approval

Any recommendations for revisions to this Article shall be referred to
the Use of Force Joint Use Committee. After review and consideration,

the Use of Force JUC shall refer revisions to the Director, DAI, for
approval, via the Deputy Director.

Only the Director of DAI, or the Director’s designee, may issue
clarification memoranda to this Article.

§1020.24 Revisions

The Director, DAI, or designee shall be responsible for ensuring that
the contents of this Article are kept current and accurate.

$1020.25 References

PC § 118.1, 196, 197, 243, 835, 835a, 843.

CCR (15) § 3268, 3268.1, 3268.2, 3275, 3276, 3278, and 3397.
Hudson v. MeMillian, 503 U.S. 1 (1992).

Madrid v. Gomez, 889 F.Supp. 1146 (N. D. Cal. 1995).

Remedial Order regarding Madrid v. Gomez, dated June 17, 1996.
Madrid v. Cate (U.S.D.C. N.D. Cal. C90-3094 TEH). |

ARTICLE 3 — INCIDENT REPORT
Effective December 27, 1989

§1030.1 Policy

Incidents, events and activities that occur within the jurisdiction of
institutions and parole regions of immediate interest to the Department,
other governmental agencies or the news media, shall be reported to the

e — Any use or discharge of weapons, chemical agents or tasers.

e¢ Threats against the President or Vice-President of the United States, or
threats against state officials. '

e Safety grievances (employees).
e Employee job actions.
51030.4 Incident Reporting Procedures (Institutions)

All reportable incidents shall be conveyed by telecopier on a CDCR Form 837
series, Administrative Officer-of-the-Day (AOD) Incident Report, to the Director,
by the 24-hour-a-day Identification and Warrants (ID) Unit.

The current public and ATSS telephone numbers of the ID Unit shall be included
in the telecopier and AOD instruction booklets or memos.

§1030.4.1 Administrative Officer-of- -the-Day Incident Report, CDCR .
Form 837 Series .

The Administrative | Officer-of-the-Day Incident Report, CDCR
Form 837 series, is the Department's initial written report to Central Office that an
incident of departmental interest has occurred. It is essential that all information
available at the time of the incident be entered into this report. Any subsequent
updating of information relating to the incident should be forwarded to Central
Office using the AOD 837 Log Number of that particular incident.

Initial Report Content

Initial reports by telecopier shall include all pertinent available inforniation. New
information significant to the incident shall be telecopied as received.

Press Releases

The Assistant Director, Communications, shall be notified by telepho. . of: “press
releases or serious incidents. A written copy of the press release: shall be
telecopied to Communications following the verbal notification. ~- ' os

51030.4,2 Incidents on Department Buses

The transportation sergeant or senior officer in charge of the bis shall be
responsible for reporting incidents which occur during departmental transportation:
The Captain, Transportation Unit, shall be responsible for the processing arid
distribution of incident reports prepared by staff of the transportation unit. Copies
of the incident report shall be forwarded to institutions receiving inmates involved
in transportation incidents. }

31030.5 Formal Incident Reports
A written incident report shall be prepared and submitted to the Director within 72
hours of all reportable incidents. The Warden or RPA will review and sign this
report. pels
51030.5.1 Supplemental Incident Reports

Initial incident reports to the Director shall be updated by supplemental. incident
reports until the incident is closed. The supplemental reports shall include all
subsequent facts, information, and administrative’ actions taken relative'to the
incident.

51030.5.2 Incident Report Log

Facilities and parole regions shall establish and maintain an official” ‘16g on all
reportable incidents. All initial incident reports shall be assigned a log number.
Incident report log numbers shall be obtained from the original CDCR Form 837
series, AOD Report, pertaining to the incident. All supplemental ..reports
pertaining to a single incident shall contain the log number assigned. to. the initial
report and shall be filed sequentially with the original report.

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51030.6 Format and Content
Revised February 26, 1993

The facility watch commander or program lieutenant in charge of the
‘specific area where the incident occurred shall be responsible for the
preparation of the incident report. Departmental incident reports shall
be prepared in accordance with the following outline and format:
. Subject.
e — Synopsis.
e Persons involved.
° Summary.
e Action taken.
The outlined sections shall contain the following information when
applicable: .
e Subject. This section shall provide a brief one-or-two sentence

description of the incident.

¢ Synopsis. This section shall contain a brief, concise description
of the incident and involvement of the principal person(s). It shail
also contain a description of the injuries, a prognosis for each
injured_person,_.the_location_of the incident, and the extent_of.

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e State if case was referred to the BPT and actions taken if known.

e State if Chief of Labor Relations was notified in cases of employee
injury or death.

e Describe actions to notify next of kin in cases of serious injury or
death.

e Describe measures taken to prevent recurrence. , mes - .
51030.6.1 Attachments
The following attachments shall be included in incident reports when applicable:
e Arresting and/or witnessing officer reports.

e — Reports of principal employees involved,
¢ Medical and/or death reports on injuries or deaths.

e Photographs shall not be attached to incident reports sent to the Direct
unless requested.

51030.6.2 Copies and Distribution

Incident reports shall be duplicated by the photocopy method only and distributed -

as follows:

* Two copies to the Director. (Three copies if death of staff or inmate by _
assault.) .

property damage if any.
. Persons Involved. The following information shall be included
on principal inmates involved:

e Name(s) and prison number(s).

¢ Custody classification and classification score.

° Date received by the Department.

° Date received by the facility.

e Commitment offense and county of commitment.
° Parole/discharge date/Board of Prison Term status.

e List name(s) and job classification(s) of principal staff
involved.
e Summary. This section shall contain a detailed report of the
entire incident including, when applicable, the following
information:

¢ — Type of incident, date, and approximate time of occurrence.

¢ Location of incident.

° All facts, details, and conclusions.

e Any criminal acts committed and by whom.

e Any property damage incurred and value estimate of loss.

e Number and description of weapon(s) used by perpetrator(s)
or recovered following the incident.

e Types of weapons used by staff, i.e, firearms, chemical

‘agents, tasers, or other lethal/nonlethal weapons. Number of

shots fired and/or amount of chemical agents expended shall

be included in this section. (See DOM 32010, 54060, and
55050 for additional information on the taser.)

* Compliance with procedures requiring review of medical/
psychiatric records before taser is used and their findings.

¢ Detailed and specific description of any physical force used
by staff during the incident.

« Types and amounts of controlled substances seized.
Controlled substances shall be reported in grams or dosages.

e Describe circumstances surrounding any staff, inmate, or
visitor death and details of care provided. Any last
messages wished transmitted by the deceased shall be
quoted.

¢ Describe any injuries to staff/inmates/visitors, medical aid
provided, and prognosis. An (F) or (M) shall be placed after
the names of injured staff members to designate whether
male or female.

. Action Taken:

« Describe any disciplinary or classification committee
actions taken and outcome if known.

* — State if case was/was not referred for criminal prosecution.
If referred, describe status or outcome if known.

° State whether or not information officer and/or news media
was notified.

e — One copy to each institution if deemed serious or unusual, or if considered to.
contain information of particular training value. (Individual institutions may
also request routine distribution.)

CYA Wards

*® One copy to the Chief Deputy Director, CYA, for each CYA ward involved. .

¢ One copy upon request to the Region Chief of the Department of Forestry
and Fire Protection of conservation camp incidents involving forestry
employees.

51030.6.2.1 Confidential Incident Reports

Incident reports which contain confidential information shall be written,  ~ -

controlled, and distributed in accordance with CCR 3321, and applicable’ *.*

information practices procedures. .

51030.7 P&CSD Incident Reporting Policy see

P&CSD incidents shall be reported in accordance with departmental policy as

outlined in this procedure.

51030.7.1 Types of Reportable Incidents

The following types of incidents shall require the preparation of incident report

by P&CSD staff.

e — Special incidents.

e - Altercation/unholstered firearm.

¢ — Shots fired by agent.

e Threats against public officials.

51030.7.2 Incident Reporting Procedures

Parole Agent

The Parole Agent involved shall obtain and document all available information

and notify the unit supervisor or AOD.

Written reports by Parole Agents for all reportable incidents shall be completed

within 24 hours of the incident.

Supervisory Responsibility

The unit supervisor or AOD shall notify the deputy Regional Administrator on the ...--

day the incident occurs. The deputy Regional Administrator shall evaluate the

seriousness of the incident and notify the Regional Administrator and assistant :

deputy director by telephone when determined necessary. .

Special Incident Report (CDC Form 1662) :

A CDC Form 1662, Special Incident Report, shall be completed by the. unit “One

supervisor and telecopied to the deputy Regional Administrator on the day the: =. |

incident occurs. A complete report with al! additional information shall be}...
forwarded to the assistant deputy director. The assistant deputy director shall: ...
forward the report to the Director by the Deputy Director when deemed necessary: . aay:

§1030.7.2.1 Altercation/Unholstered Firearm :

An incident report shall be prepared when parole staff is involved in an altercation

or draws a weapon. The report shall be written on a standard departmental

memorandum using the following procedures and format:

. Synopsis.

a

¢ — A brief one or two sentence description of the incident.
« Parties Involved.

e List all persons involved in the incident noting their status as staff,
parolees, inmates, or other persons.

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erm nmnnfor-any “injured - person;—The~ Confidential-Shots~Fired’Report-and—— -

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¢ Procedure/Format
° Injuries to persons or property.

e A description of injuries to any person, medical aid given,
and prognosis. When reporting injuries, differentiate
whether female or male by (F) or (M) behind the name of
injured person. Damage to property of a staff person,
parolee, inmate or any other person shall be listed with a
damage estimate in dollar value.

e Details of Incident.

e <A detailed description of the altercation or incident
involving unholstering of firearm.

e Reporting Staff Signature(s).
. Report shall be submitted to the unit supervisor for review
and approval.

§1030.7.2.2 Shots Fired by Parole Agent

Any discharge of a firearm by parole staff for other than training
purposes whether on duty or off duty shall be immediately reported to
the local law enforcement agency and a Confidential Shots Fired
Report prepared. Medical aid shall be summoned as soon as possible

accompanying incident report shall be prepared using the following
format and procedures:

Format
e — Synopsis.
e A brief one or two sentence description of the incident and
number of rounds fired.

e Persons Involved.

e - List all participants and witnesses involved by full name,
address, telephone number, and place of employment.
Participants shall be listed as: department employee (title),
inmate/employee, private citizen, or other appropriate title
or identity. Include statements from witnesses and
participants.

e —_ Death, Injury, or Property Damage.

¢ Describe injuries and/or wounds sustained by any persons.
Describe any property damage including names and
addresses of owners and give an estimated value of
damages. If death occurs to an injured person after
completion of the original report a supplemental report shall
be submitted.

« Weapons Used.

e Describe weapon(s) used during incident by employee(s)
and other persons. Description for employee firearm shall
include type and model number of weapon, serial number,
CDC number, number of rounds fired and disposition of the
weapon.

e Firearms used or confiscated from other persons during the
incident shall be identified by type and model number, serial
number, number of rounds fired (if any) and disposition of
the weapon(s). If confiscated weapon(s) was not fired,
description shall include whether weapon was loaded or
unloaded and number of rounds confiscated. When known,
a statement shall be included as to whether the weapon was
listed as stolen or how possession was obtained. If
unknown at the time of report, the information shall be
submitted on a supplemental report when available.

¢ Assistance by Other Agencies.

e Names and telephone numbers of all departments and/or
agencies assisting or responding in the incident shall be
listed. Copies of their reports shall be attached to the
incident package when available. Examples of
departments/agencies to be included are: law enforcement
agencies, ambulance/paramedic services, hospitals, and
physicians, etc. Reports from assisting agencies that are
unavailable prior to completion of the incident report shall
be submitted with a supplemental incident report when
Teceived.

Details of Incident.

¢ A detailed chronological account of the incident shall be
written. A narrative description of the scene and physical

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+ pecipients-listed-above;

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positions of all participants and witnesses shall be prepared and
attached to the final report. All P&CSD staff directly involved i in the
incident shall submit a written report. 2,

° P&CSD Notification.

« Indicate date and time that the supervisor or AOD was notified of the
event, including name of person notified.

e Analysis.

¢ The immediate supervisor shall proceed to the scene of the incident and
conduct a complete investigation including an examination of the
firearm used by staff. The supervisor shall prepare an analysis report
within four days of the incident and forward the report to the Regional
Administrator and Deputy Director, P&CSD, within 24 hours of
completion. The cause of the incident and degree of each participant's
involvement shall be included. The analysis section shall be a separate

_ document (addendum) to the main incident report and distribution shall
be restricted to the unit supervisor, PA, Regional Administrator,
assistant deputy director, and Deputy Director, P&CSD. The analysis
section shall be removed from the incident report prior to distribution
for training or informational purposes. Revisions to the analysis
section shall be effected by supplemental reports to the authorized

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§1030.8 Threats

Written or oral threats by inmates/parolees against the President or Vice-President
of the United States; Governor of California; state, county or city officials; elected
state officials; exempt appointees of the Govemor; judges; BPT staff; and P&CSD
staff: shall require the preparation of an incident report following. Procedures
described in the subsequent sections.

§1030.8.1 Threats Against the President or Vice- President of ‘the, United
States “

An immediate telephonic/telecopy report shall be made to the following:

° During non-business hours, a telecopy report shall be transmitted to the
appropriate division.

° During business hours, the responsible Assistant Deputy ’ Director,
Institutions/Paroles shall be contacted who shall notify the Director when
appropriate. wet

e¢ — Assistant Director, Law Enforcement and Investigations.

e =U.S.Secret Service (local office). —

e FBI (local office).

51030.8.2 Threats Against Other Public Officials

Threats against the Governor of California and all other officials listed i in n this
section shall require immediate telephonic/telecopy reporting to:

° Appropriate division during non-business hours. Mate WT

e The responsible Deputy Director, Institutions/Paroles during business hours,
who shall notify the Director when appropriate.

e Assistant Director, Law Enforcement and Investigations. _

° CHP. Notification may be made to any of the following offices:
¢ Division headquarters, Sacramento - (916) 445-1150.

e Executive Protection Bureau-North - (916) 445-9636, —
e —_ Executive Protection Bureau-South - (213) 620-3216. ~~

e Executive Officer, BPT, if BPT staff are involved.

§1030.8.3 Follow-Up Actions on Threats

When threats are made in writing, a copy of the threat shail be attached to the

* incident report. ‘ .

e An evaluation of the mental condition and the mental history af peréon
making the threat shall be included in the incident report.

° A copy of the incident report shall be distributed to departments and | agencies
listed in DOM 51030.8.1 and 51030.8.2.

e Upon evaluation of the threat, the inmate or parolee may be plced. in
custody pending investigation.

e —s:If threat involves a P&CSD staff person, other measures, i.e., arming of the
staff person, protection by local law enforcement or LEIU, or reassignment
of the employee may be considered.

e Any reportable threat shall be placed in the inmate/parolee C-File aiid in the
field file of parolees. The files shall be clearly noted for identification, . ae

51030.9 Escape/Abscond/Parole or Discharge

In the event any inmate under the provision of DOM 51030.8 escapes, is
discharged, or released on parole, or any parolee under this provision absconds or

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is discharged, the appropriate agencies outlined in DOM 51030.8.1 and
51030.8.2 shall be immediately notified.

§1030.10 Revisions
The Deputy Director, Institutions Division, in conjunction with the

Deputy Director, P&CSD, or designee shall ensure that the content of

this section is accurate and current.

51030.11 References

PC § 76.

18 USC 871.

CCR §§ 3382, 3276 - 3279.

ACA Standards 2-4206 - 2-4208, and 2-4210.

ARTICLE 4 — POST ORDERS

Revised July 3, 1998

51040.1 Policy

Each Warden and Health Care Manager shall ensure that post orders
are completed for all posted positions, to include special assignment

_positions (i.e., contraband _watch, hospital, guarding, etc.).

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§1040.5.1 Post Order Language
Post orders shall contain the following language:

“All peace officers have the responsibility to take appropriate action during an .

emergency (including physical restraint) and to work assignments as necessitated.”
51040.6 Post Order at Job Site

The Captain or area Manager shall ensure that a current copy of the Post Order is
prepared for every post and a copy shall be physically located at each job site.
51040.6.1 Post Order Reading and Understanding Requirements

Supervisors, by authority of the Captain or area Manager, shall ensure that
employees read and understand their post orders upon assuming their post.

Employees under post orders are required to sign and date the CDC.
Form 1860, Post Order Acknowledgment Form, verifying their understanding of"
the duties and responsibilities of the post. This shall be completed when the
employee is assigned to the post, when the post order has been revised, or upon ~
returning from an extended absence. -

At a minimum of once each month, supervisors shall inspect the post orders and. .
sign the CDC Form 1860. Any torn or missing pages noted shall be replaced | as nS
soon as practical. -,

51040.6.2 Post Order Acknowledgment Form

51040.2 Purpose
Post orders shall be complete and concise. Only general functions and
specific duty directives shall be referenced in post orders, Department
policy directives should be referenced in post orders but not be
reiterated in their entirety. Those matters that are not specific to post
duties should be communicated to staff through: IST, OJT, or other
communication methods.
51040.3 Staff Responsibility for Post Orders
The Captain or area Manager (i.e., Health Care Manager, Food
Manager, etc.) is responsible for the initiation, revision, distribution,
and maintenance of post orders.
51040.4 Review, Update, and Finalization of Post Orders

' Each Captain and Health Care Manager shall establish a schedule so
that all post orders receive an annual review and update to incorporate
changes ‘in rules, regulations, policy, institution operations, and the
DOM. Whenever a post order is reviewed or updated, the date of the
review shall be included on the post order.

The Captain or area Manager shall assign a second line supervisor
to be responsible for the review, revision, and/or preparation of
designated post orders.

Post orders shall be accurate, complete, and concise.

Post order drafts shall be submitted to the immediate supervisor
for review then forwarded to the second line supervisor who, after
approval of the draft, shall have the post order prepared in final
form. The Health Care Manager shall submit the post order drafts
to the first line supervisor who, after approval of the draft, shall
have the health care staff post order prepared in final form. The
respective Associate Warden, Chief Deputy Warden, or Health
Care Manager shall review and approve all finalized post orders.

§1040.5 Post Order Format

Post orders shall not exceed 4 pages in length and shall be prepared
utilizing the following format:

Revision Date:

Division/Institution:

Post Description:

Post Order Number:

Watch:

Hours of Work:

Regular Days Off:

Direct Supervisor:

Indirect Supervisor:

Area of Responsibility: :
General Duties and Responsibilities:
Special Instructions:

Operational Time Schedule:
Signature Blocks.

verify that the assigned staff member has read and understood the post orders for |
their post. :
« When all the signature blocks on the CDC Form 1860 are filled, it shall be
removed and maintained in a file in the Captain's office or Health Care ~ <
Manager’s office (for health care staff), The CDC Form 1860 shall be
maintained for a period of one year from the date of last entry unless deemed _
evidentiary (then retained until no longer needed), :
51040.7 Post Order File cee!
The Captain's office or Health Care Manager’s office (for health care services post
orders) shali retain all current/updated institution post orders on computer diskette,
as well as hard copies. All post orders shall be archived for a period of one year,
unless deemed evidentiary (then retained until no longer needed).
5§1040.8 Revisions a
The Deputy Director, Institutions Division, or designee shall ensure that the... :
contents of this section are kept current and accurate. us
§1040.9 References
ACA Standards 2-4200 and 2-4201.

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ARTICLE 5 — POST ASSIGNMENT SCHEDULE ao
Effective December 19, 1989 Coes!

51050.1 Policy

All Wardens and RPAs shall maintain currently approved post assignment
schedules. The schedules shall reflect the most recent revisions of 30 days

duration or longer. Each Warden and Regional Administrator shall update their

post assignment schedule in September for the current fiscal year (e.g.,
September 1988, for fiscal year 1989-90). The post assignment schedules shall

reconcile with the most recent Governor's budget available, as amended by '
legislative action. .
51050.2 Purpose of Post Assignment Process

The post assignment schedule (PAS) is a vehicle identifying how the Governor's |
budget is converted to authorized staffing of a facility. The master assignment
roster provides an approved method for effectively staffing the operation of an
institution on a day-by-day (shift-by-shift) basis.

§1050.3 Maintenance of Schedules

Separate post assignment schedules shall be maintained for each of the following *
areas:

. Custody.

¢ Food service. |

¢ — Medical-dental and psychiatric.
51050.3.1 Custody

A post assignment schedule for custody shall include all positions in the custodial
series within the institution, reception center, or community correctional center.
This includes officers, sergeants, lieutenants, captains, training officers, and
Associate Wardens.

51050.3.2 Food Service .
A post assignment schedule for food service shall include all food service
positions, exclusive of clerical.

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A’ CDC Form 1860°shall- be attached ‘to“each “post “order“and“shall-be utilized-to~
